 Fill in thisCase   24-20848-jrs
             information                   Doc 1
                         to identify the case:             Filed 07/14/24 Entered 07/14/24 12:44:17                             Desc Main
                                                            Document     Page 1 of 7
     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Northern District of Georgia (State)

                                                                      11
     Case number (If known): _________________________ Chapter ______
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        James   L. Chappuis, M.D., P.C.
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               312 Covered Bridge Ln                                    _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Cherrylog                   GA      30522
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Fannin County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
              Case 24-20848-jrs            Doc 1       Filed 07/14/24 Entered 07/14/24 12:44:17                                Desc Main
                                                        Document     Page 2 of 7
                James L. Chappuis, M.D., P.C.
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                         
                                         ✔ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            622110
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                              4/01/25 and every 3 years after that).
       A debtor who is a “small business
       debtor” must check the first sub-                       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
       box. A debtor as defined in                            debtor is a small business debtor, attach the most recent balance sheet, statement
       § 1182(1) who elects to proceed                        of operations, cash-flow statement, and federal income tax return or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
       under subchapter V of chapter 11
       (whether or not the debtor is a                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
       “small business debtor”) must                          chooses to proceed under Subchapter V of Chapter 11.
       check the second sub-box.
                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.
                                          Chapter 12


9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                               MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a                      Atlanta Orthopaedic Surgery Center, LLCRelationship _________________________
                                                                                                            Affiliate
      business partner or an              Yes. Debtor _____________________________________________
      affiliate of the debtor?                               Northern District of Georgia
                                                   District _____________________________________________ When                07/14/2024
                                                                                                                             __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
          Case 24-20848-jrs                 Doc 1         Filed 07/14/24 Entered 07/14/24 12:44:17                              Desc Main
                                                           Document     Page 3 of 7
               James L. Chappuis, M.D., P.C.
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                           ✔




12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                                Number       Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________      _______     ________________
                                                                                City                                         State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name       ____________________________________________________________________

                                                             Phone              ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           ✔


                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49
                                           ✔
                                                                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000                            50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million
                                                                            ✔
                                                                                                                      $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
           Case 24-20848-jrs                 Doc 1        Filed 07/14/24 Entered 07/14/24 12:44:17                                Desc Main
                                                           Document     Page 4 of 7
             James L. Chappuis, M.D., P.C.
Debtor       _______________________________________________________                             Case number (if known)_____________________________________
             Name



                                          $0-$50,000
                                          ✔
                                                                               $1,000,001-$10 million                   $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                          $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                              petition.
   debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            07/14/2024
                                              Executed on _________________
                                                          MM / DD / YYYY


                                          /s/ James L. Chappuis
                                              _____________________________________________               James L. Chappuis
                                                                                                         _______________________________________________
                                              Signature of authorized representative of debtor           Printed name

                                                     Manager
                                              Title _________________________________________




18. Signature of attorney
                                          /s/ William Rountree
                                              _____________________________________________              Date         07/14/2024
                                                                                                                      _________________
                                              Signature of attorney for debtor                                        MM   / DD / YYYY



                                              William Rountree
                                              _________________________________________________________________________________________________
                                              Printed name
                                              Rountree, Leitman, Klein & Geer, LLC
                                              _________________________________________________________________________________________________
                                              Firm name
                                              2987 Clairmont Road Suite 350
                                              _________________________________________________________________________________________________
                                              Number     Street
                                              Atlanta
                                              ____________________________________________________            GA             30329
                                                                                                             ____________ ______________________________
                                              City                                                           State        ZIP Code

                                              404-584-1238
                                              ____________________________________                              wrountree@rlkglaw.com
                                                                                                             __________________________________________
                                              Contact phone                                                  Email address



                                              616503                                                          GA
                                              ______________________________________________________ ____________
                                              Bar number                                             State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
            Case 24-20848-jrs                  Doc 1         Filed 07/14/24 Entered 07/14/24 12:44:17                Desc Main
               James L. Chappuis, M.D., P.C.
                                                              Document     Page 5 of 7
 Debtor                                                                  _                  Case number (if known)
              First Name     Middle Name         Last Name



                                                     Continuation Sheet for Official Form 201

10) Pending Bankruptcies

James L. Chappuis                   Northern District                07/14/2024
                                    of Georgia

Envision                            Northern District                07/14/2024
Orthopedics And                     of Georgia
Spine, LLC




   Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy
 Case 24-20848-jrs              Doc 1    Filed 07/14/24 Entered 07/14/24 12:44:17   Desc Main
                                          Document     Page 6 of 7

BOK Financial Private Wealth
7101 College Blvd., Ste. 1100
Overland Park, KS 66210


Estate of Cindy Davis
c/o CRONGEYER LAW FIRM, P.C.
4825 High Point Road
Atlanta, GA 30342


First Citizens Bank & Trust Co
c/o CT Corporation System
1201 PEACHTREE STREET, N.E.
Atlanta, GA 30361-0000


Georgia Department of Labor
148 Andrew Young Inter. Blvd
Room 738
Atlanta, GA 30303-0000


Georgia Department of Revenue
Compliance Division, ARCS - Bankruptcy
1800 Century Blvd NE, Suite 9100
Atlanta, GA 30345


Internal Revenue Service
CIO
P.O. Box 7346
Philadelphia, PA 19101-7346


Jerry Davis
c/o CRONGEYER LAW FIRM, P.C.
4825 High Point Road
Atlanta, GA 30342


VetJet Aviation LLC
150 Moultrie Dr
Rincoln, GU 31326


West Star Aviaition
5904 Pinehurst Ave
Chattanooga, TN 37421
 Case 24-20848-jrs     Doc 1     Filed 07/14/24 Entered 07/14/24 12:44:17        Desc Main
                                  Document     Page 7 of 7



                               United States Bankruptcy Court
                               Northern District of Georgia




         James L. Chappuis, M.D., P.C.
In re:                                                           Case No.

                                                                 Chapter    11
                     Debtor(s)




                               Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              07/14/2024                          /s/ James L. Chappuis
Date:
                                                 Signature of Individual signing on behalf of debtor

                                                  Manager
                                                 Position or relationship to debtor
